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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                             Plaintiff,                 Case No. CR21-17 RSL

10          v.                                            DETENTION ORDER

11   CHRISTOPHER WAYNE WATERS,

12                             Defendant.

13

14   Offenses charged:

15          Count 1:        Felon in Possession of Ammunition, 18 U.S.C. 922(g)(1)

16          Date of Detention Hearing: On January 29, 2021, the Court held a hearing via a Zoom

17   videoconference, with the consent of Defendant, due to the exigent circumstances as outlined in

18   General Order 18-20. This detention order is without prejudice to renewing once the court has

19   reconstituted in-person hearings.

20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21   based upon the reasons for detention stated on the record and as set forth, herein:

22          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          1.      Defendant was not interviewed so the Court has very little information about




     DETENTION ORDER - 1
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 1                 Defendant.

 2         2.      Defendant is being detained in cause number 13 CR -0282.

 3         3.      Defendant poses a risk of danger due to the nature of the alleged offense and his

 4                 pattern of criminal activity.

 5         4.      Based on these findings, and for the reasons stated on the record, there does not

 6                 appear to be any condition or combination of conditions that will reasonably assure

 7                 the Defendant’s appearance at future court hearings while addressing the danger to

 8                 other persons or the community.IT IS THEREFORE ORDERED:

 9         (1)     Defendant shall be detained pending trial, and committed to the custody of the

10                 Attorney General for confinement in a correction facility separate, to the extent

11                 practicable, from persons awaiting or serving sentences or being held in custody

12                 pending appeal;

13         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

14                 counsel;

15         (3)     On order of a court of the United States or on request of an attorney for the

16                 government, the person in charge of the corrections facility in which Defendant is

17                 confined shall deliver the defendant to a United States Marshal for the purpose of

18                 an appearance in connection with a court proceeding; and

19         (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

20                  counsel for the Defendant, to the United States Marshal, and to the United States

21                  Pretrial Services Officer.

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 1         Dated this 29th day of January, 2021.

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 4                                                 MICHELLE L. PETERSON
                                                   United States Magistrate Judge
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     DETENTION ORDER - 3
